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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 DISPLAY TECHNOLOGIES, LLC,

               Plaintiff,
                                                           CASE NO. 1:20-cv-00258-RGA
         v.

 ASTON MARTIN, LLC,

               Defendant.


              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Aston Martin,

LLC without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.

DATED: August 13, 2021                           Respectfully Submitted,


                                                  CHONG LAW FIRM PA

                                                  /s/ Jimmy Chong
                                                  Jimmy Chong (#4839)
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                                                  Wilmington, DE 19808
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                                                  Email: chong@chonglawfirm.com

                                                 ATTORNEYS FOR PLAINTIFF

                                                  SO ORDERED this 16th day of 2021

                                                  /s/ Richard G. Andrews
                                                  United States District Judge
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